                                          AFFIDAVIT



STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )



I, Timothy C. Carroll, being duly sworn, hereby depose and state as follows:



       1.     I am employed as a Special Agent (“SA”) with the U.S. Department of

Homeland Security, Immigration and Customs Enforcement (“ICE”), Homeland Security

Investigations (“HSI”), Buffalo, New York and have been so employed in that capacity since

September 2019.     Prior to employment with Homeland Security Investigations, I was

employed by U.S. Customs and Border Protection (CBP) in Buffalo, New York and assigned

to the Homeland Security Investigations- Border Enforcement Security Taskforce (BEST) as

a Task Force Officer (TFO). Prior to employment with Customs and Border Protection, I was

employed by the United States Border Patrol as a Border Patrol Agent. Duties as a Border

Patrol Agent consisted of line watch operations in the Calexico, California area of

responsibility in order to stop the entry of illegal persons and substances attempting to enter

the United States. I am currently assigned to the HSI Buffalo Border Enforcement Security

Task Force (“BEST”), an HSI sponsored law enforcement task force comprised of local, state,

federal, and Canadian law enforcement officers co-located in Buffalo, New York and tasked

with combatting transnational criminal organizations (“TCOs”) exploiting vulnerabilities of

the shared international border. As such I am a law enforcement officer of the United States,

within the meaning of Section 115(c) (1) of Title 18, United States Code, who is “authorized
by law or by Government agency to engage in or supervise the prevention, detection,

investigation or prosecution of any violation of Federal criminal law.” Furthermore, per the

Interagency Cooperation Agreement between the Drug Enforcement Administration

(“DEA”) and ICE/HSI, I am a cross-designated agent authorized to investigate violations of

Title 21, United States Code.



       2.     As a Special Agent, I attended the Federal Law Enforcement Training Center

(“FLETC”) completing the Criminal Investigator Training Program (“CITP”) and HSI

Special Agent Training (“HSI SAT”). During this training, I received detailed training, both

academic and practical application, in the areas of informant handling/debriefing, drug

packaging, pricing, importation, and trafficking methods.      In addition, I received both

academic and practical application training in surveillance and counter surveillance

techniques/methods. I received legal instruction in Federal drug conspiracy laws, preparing

drug affidavits, the Controlled Substances Act, Fourth Amendment Searches and Seizures,

Federal Rules of Evidence, and the execution of search warrants.



       3.     I have conducted, and assisted with complex criminal, multi-jurisdictional

investigations targeting the importation, exportation, smuggling, transporting, trafficking,

and distribution of controlled substances. I am familiar with how controlled substances are

produced, packaged, smuggled, transported, distributed, and used within the framework of

drug distribution operations conducted by TCOs and how drug traffickers and TCOs utilize

wire communications to facilitate their illegal activities. I have also conducted and assisted

with investigations utilizing judicially authorized intercepts of communication devices,



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“wiretaps,” and have reviewed recorded conversations and drug records/ledgers pertaining

to narcotics trafficking. I have also conducted and participated in numerous debriefings of

narcotic traffickers, confidential informants, cooperating defendants, cooperating individuals,

and sources of information.



       4.     The information contained in this affidavit is based upon your affiant’s personal

knowledge, upon reports and information received from other law enforcement officers and

agencies, and other law enforcement activities.



       5.     The statements contained in this affidavit are based on my involvement in this

investigation, as well as information provided to me by other law enforcement officers in this

investigation. Because this affidavit is being submitted for the limited purpose of seeking a

criminal complaint, I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts necessary to establish probable cause to believe

that Ranjodh SINGH and Amanpreet GILL knowingly violated Title 21, United States

Code, Sections 846, 841(a)(1) and 841(b)(1)(B).



                                    PROBABLE CAUSE


       6.     On December 1, 2020, Customs and Border Protection Officers (CBP) assigned

to the Buffalo, NY Peace Bridge Cargo Facility encountered a J-Y Transport Limited

employee (hereinafter, the driver) and sole-occupant of a Canadian plated tractor-trailer

bearing registered license plate ON/CA 3503PX. The driver advised CBP officers that he was

traveling to 132 Belmont Drive, Somerset, New Jersey to deliver a shipment of “aluminum


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clad insulated panels” that he picked up in Toronto, Ontario. The driver’s paperwork

indicated that the panels were destined for “Smartway Associates”. The shipment was

targeted based on it being from 55 Browns Line, Toronto, Ontario, as this shipping address

was related to a previous Port of Buffalo narcotics seizure on June 12, 2020 resulting in

approximately 423 lbs. of marijuana being seized.



       7.      The truck was referred to secondary inspection for a vehicle x-ray scan. The

Vehicle and Cargo Inspection System (VACIS) scan of the tractor trailer revealed an anomaly

within the shipment. Subsequently, the conveyance was escorted to the dock for a physical

examination.



       8.      During the physical exam, CBP Officers removed the top aluminum panel

which revealed suspected marijuana concealed inside the remaining hollowed out aluminum

panels. The suspected marijuana was packaged in an undetermined amount of vacuum sealed

packages. One package was removed from the shipment in order to be field tested. This small

sample of the suspected marijuana was field tested using the Duquenois-Levine Reagent #908

test kit. The sample tested positive for THC, which indicates the substance to be marijuana.

Additionally, a suspected GPS tracker was found within the shipment which indicates to your

Affiant that the criminal organization had the ability to track the location of the shipment and

the desire to know the shipments whereabouts in real time. Drug trafficking networks will

often place GPS trackers within contraband loads in order to know its whereabouts and

whether of not it was detained at the United States border.




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        9.    Due to the discovery of the panels containing suspected marijuana and a

positive field test, HSI requested that the driver continue to his intended destination under the

supervisions of HSI agents. HSI Buffalo personnel followed the tractor and trailer to its

manifested destination of New Jersey, maintaining constant surveillance of the cargo. The

driver was required to stop driving due to running out of “hours”, and subsequently spent the

night at the Pembroke rest area off the NY State Thruway.



        10.   On December 2, 2020, the driver and HSI personnel continued driving to New

Jersey. The driver received a call from an individual named “Alex” from “Sure Lock Panels”.

“Alex” later called again and stated that the delivery destination was going to be changed.

Shortly thereafter the driver received a text message that read: “21 distribution Way

Monmouth junction ask for Jim. Tel 732 297 4400.” At approximately 1343 hours, the driver

received a text message that read: “Hermann warehouse”.


        11.   At approximately 1300 hours, HSI Newark SAs initiated surveillance at the

Smartway Associates Warehouse, 142 Belmont Drive, Somerset, New Jersey. This location

was suspected of being the same location as the “132 Belmont Drive” location found in the

driver’s paperwork. During that surveillance, law enforcement observed a black Ford

Mustang, bearing New York license plate GILLNY, parked in the parking lot of the

warehouse. At approximately 1348 hours, HSI Newark received information that the location

of the shipment was moved to Hermann Warehouse, 21 Distribution Way, Monmouth

Junction, New Jersey. Surveillance at Smartway Associates Warehouse was concluded at this

time.




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       12.    At approximately 1449 hours, law enforcement observed a silver Honda

Accord, bearing New York license plate KGR6234, pull into the parking lot of Hermann

Warehouse and park. Law enforcement observed the Honda Accord leave the parking lot.

After a brief period, law enforcement observed the Honda Accord return to the parking lot.




       13.    At approximately 1603 hours, the driver arrived at the “Hermann Warehouse”

and backed into a dock space to be unloaded. Law enforcement observed an individual from

the Honda Accord appearing to take pictures of the driver’s truck/cargo when he arrived at

the warehouse location. At approximately 1635 hours, law enforcement observed the Ford

Mustang, previously observed at the Smartway Associates Warehouse, arrive at the Hermann

Warehouse and park close to the location where the driver was parked. The Ford Mustang

stayed for a short period of time before relocating close to where the Honda Accord was

parked. At approximately 1645 hours, the Ford Mustang was observed exiting the area.



       14.    At approximately 1712 hours, the driver’s flat bed trailer was finished with the

unloading process of the aluminum clad insulated panels and the unknown quantity of

vacuum sealed packages of marijuana. The driver then departed the scene in his commercial

tractor trailer. The Honda Accord proceeded to follow the driver out of the area.




       15.    On December 3, 2020, at approximately 1030 hours, the Hermann Warehouse

was informed by an individual unknown to SAs that a truck was booked to pick up the

aluminum clad insulated panel load dropped off by the driver, no estimated time of arrival



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was provided.



       16.      Later that same day, law enforcement observed the silver Honda Accord, pull

back into the Hermann Warehouse complex. Law enforcement observed the black Ford

Mustang arrive at the Hermann Warehouse and provided an already parked tractor-trailer

style commercial truck with moving dollies. The commercial truck then backed into a loading

bay. Law enforcement then observed the new commercial truck being loaded with the

aluminum insulated panels that were dropped off by the driver. The commercial trucking

company was identified as Road King Transportation LLC by law enforcement. The Road

King Transportation LLC truck departed the Hermann Warehouse complex and then was

observed backing into a loading bay at 142 Belmont Drive, Somerset, New Jersey 08873. At

this time, the black Ford Mustang was already on scene at the 142 Belmont Drive warehouse.




       17.      At approximately 1635 hours, law enforcement approached the warehouse and

discovered two occupants of the warehouse. All occupants were taken into custody and a

security sweep of the warehouse was performed for officer safety. A search of the warehouse

was conducted after written consent was given to law enforcement by the warehouse lessee.

Law enforcement identified the occupants of the warehouse as Amanpreet GILL (warehouse

lessee) and A.J (the truck driver of Road King Transportation LLC). Law enforcement also

located within the warehouse three empty wood crates used to ship refrigerators from Canada

to the United States. Additionally, another aluminum clad insulated panel shipment was

discovered in the warehouse next to the panels that had been offloaded on that day. No drugs

were found in the already present panel, however the panel was hollowed out and filled with


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shipping peanuts.


       18.    Law enforcement began an interview with GILL. Before speaking with GILL,

he was issued his Miranda warnings. GILL waived his Miranda rights by a waiver form and

agreed to speak with law enforcement regarding the day’s events.



       19.    GILL stated he received an insulated panel load from “Sure Lock” a month

ago to the warehouse where he was encountered on this date. GILL stated that yesterday he

again received a shipment of insulated panels from “Sure Lock”. GILL stated that he just

opened a business and it is not established yet and that the business will eventually be a cross

dock warehouse company. GILL stated that this was the third shipment he received at that

warehouse since opening. Two of the previous shipments were the same insulated panel

product and the third shipment was used in a traditional cross dock fashion by a different

individual. GILL stated that regarding the insulated panels he had within the warehouse he

was planning to sell them online to whomever would buy them. The panels cost

approximately $9,000 in United States currency. GILL claimed that both shipments of

insulated panels were ordered from “Sure Lock” out of Canada.


       20.    GILL stated that he met the individual associated with “Sure Lock”, named

Jai, in India, at the gym. GILL has known Jai for six or seven years however he has not seen

Jai in five or six years. GILL called Jai once arriving to the United States and was told that

Jai would help him out after he stated his warehouse business. GILL stated that Jai told him

that his company “Sure Lock” would give him 120 days credit to sell product in the United

States before paying them. GILL stated that even though he was starting a company and had



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already received product, with a 120 day window to make a payment, that he hadn’t made a

business website yet. GILL received the first insulated panel shipment approximately a month

and a half ago. GILL informed SAs that he was waiting to receive more product before he

began to sell anything. GILL has held the lease on the warehouse for approximately three

months, using all his savings to start up his business/lease the warehouse. Prior to this, GILL

worked as a truck driver.



       21.    GILL told law enforcement that he had ordered another load of panels a week

ago but had received no paperwork associated with the order. Jai told him last minute that

the shipment he had ordered was already in New Jersey and ready for pick up. At this point,

GILL called A.J, who is a truck driver, and asked him if he could help him pick up a load

and transport it to his warehouse. A.J subsequently agreed to help GILL. Law enforcement

informed GILL that marijuana was found in his shipment. GILL consented for law

enforcement to search the other insulation panels found in his warehouse and requested to be

shown the marijuana. GILL subsequently signed a consent form to search his warehouse as

well as his cellular telephones. GILL also provided the passwords for his cellular phones.




       22.    GILL was asked by law enforcement about the tracker that was in the insulated

panel load and where it currently was. GILL stated that Jai told him there was a tracker in it.

GILL stated that it was standard to have a tracker in the shipment for some companies. GILL

did not have access to track the load, but Jai did. GILL was asked by law enforcement if the

previous panel load he had received last month also had a tracker in it to which GILL replied




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no. Law enforcement escorted GILL back into the warehouse area where he was shown the

marijuana. After returning from viewing the marijuana, and briefly speaking with law

enforcement again, the interview concluded per GILL’s request.




       23.    A.J was also interviewed by law enforcement on scene. Before speaking with

A.J, he was issued his Miranda warnings. A.J waived his Miranda rights by a waiver form

and agreed to speak with law enforcement regarding the day’s events.



       24.    A.J informed SA Jeffers that he had received a text message from GILL on

December 3, 2020 asking for assistance transporting a load. The truck he was driving on

December 3, 2020 belonged to his company, Road King Transportation, and was only

borrowed to help move GILL’s product. A.J claimed he was not paid by GILL for his

assistance. A.J denied knowledge of marijuana being present in the load or GILL being

involved in any type of narcotics activity. A.J stated that he transported the panels over to the

warehouse at 142 Belmont Drive, leased by GILL. At that location, GILL unloaded the

panels and placed them within the warehouse. A.J then stated that GILL removed the GPS

tracker and gave it to A.J, telling him to throw it in the garbage. A.J stated he placed the GPS

tracker in his pocket and then used the bathroom. A.J stated that he was planning on leaving

when encountered by law enforcement. The GPS tracker was found on his person by law

enforcement



       25.    HSI SA’s and task force officers conducted an extended border search of the

insulated panel load. The load was eventually determined to contain approximately 452.42


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kilograms of marijuana.



       26.    At approximately 1910 hours, the Silver Honda Accord observed earlier in the

day arrived at the warehouse. The driver was detained for questioning and was identified as

Ranjodh SINGH.



       27.    Law enforcement began an interview with SINGH. Before speaking with

SINGH, he was issued his Miranda rights. SINGH waived his Miranda rights and agreed to

speak with law enforcement regarding the day’s events by signing a waiver form.



       28.    SINGH told law enforcement that he was going to the warehouse to meet a

friend from California. SINGH stated that the friend he was meeting he met via online

gaming. SINGH stated that his friend was a truck driver that was traveling from California

to New Jersey. SINGH has never met or seen this individual before. When asked what

SINGH had done earlier in the day, he replied that he had been at home. SINGH stated that

the car he was driving was his friend’s car. Law enforcement asked SINGH if he had been at

a different warehouse earlier in that day to which he replied he was not and “I think that’s all

I can say about that”. Law enforcement again asked SINGH if he was at a different warehouse

taking pictures of a truck yesterday. SINGH stated that he was not and “that’s enough for

me, I cannot say anything. That’s all for me”. Law enforcement then informed SINGH that

they were aware that he was at the warehouse because they had observed him taking pictures

of the truck. SINGH again refused to talk about that. SINGH then stated he did not wish to

continue at which time law enforcement ended the interview.


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       29.    Law enforcement seized an iPhone 7 plus (hereinafter “GILL Phone”) from

GILL. GILL provided consent to search the device and signed a consent to search form for

the device. An initial review of the device conducted by law enforcement revealed texts from

a Canadian number providing warehouse information and updates regarding the shipments.

Several missed calls from a Canadian number were also discovered on the device.


       30.    Law enforcement also seized an iPhone 11 Pro Max (hereinafter “RANJODH

Phone”) from Ranjodh SINGH. SINGH provided consent to search the device and signed a

consent to search form for the device. Inspection of SINGH's phone revealed videos showing

him identifying law enforcement personnel while he was driving around the warehouses. Law

enforcement also viewed approximately 16 photos that appear to be the blue truck driven by

the driver when he was parked and unloading at Hermann warehouse. Based on my training

and experience, this behavior is consistent with that of drug traffickers.



       31.    Based on your affiant’s training and experience, and knowledge throughout the

course of this investigation it is the motus operandi for individuals receiving bulk quantities

of marijuana from Canada to be controlled/directed by individuals who remain in Canada.

An initial review of both GILL’s and RANJODH’s phone show them being in constant

communication with two separate Canadian numbers throughout the delivery process.

Although both individuals were communicating with two different Canadian numbers, both

GILL and RANJODH received the same warehouse information and similar updates.

RANJODH also received the address of the warehouse space rented by GILL, where the

marijuana was ultimately unloaded, suggesting that both individuals were part of the same

overall conspiracy to smuggle the bulk marijuana. Also contained on RANJODH’s cell


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phone was a photo of a Ria money transfer receipt for $1,500 in Canadian currency. Prior

information relating to this investigation has revealed that the organizing individuals in

Canada will send payment to the parties in the United States to support the drug trafficking

activities via money order.



       32.     Based on the initial review of the phone belonging to GILL it is also this affiants

experience that companies in Canada participating in legitimate business do not constantly

call and message the purchaser of their product and remain actively engaged with them until

it is delivered. The constant updates and amount of missed calls is indicative of drug

trafficking status updates.



       33.     Based upon the previous seized marijuana shipment at the border by CBP on

June 12, 2020, originating from the same warehouse in Canada, the fact that the vehicles

driven by both individuals were seen at the same warehouse where the insulated panel load

containing marijuana was stored the night before, along with both individuals arriving at the

marijuana loads final destination warehouse and, review of both individuals phones showing

both individuals communicated constantly with Canada throughout the importation process

and receiving corresponding information to one another, it is reasonably foreseeable that the

both defendants are within the scope of the conspiracy.



                                       CONCLUSION

       34.     Based upon the foregoing, I respectfully submit that I have probable cause to

believe that Ranjodh SINGH and Amanpreet GILL have violated Title 21, United States



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